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                    United States Court of Appeals
                                  FIFTH CIRCUIT
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                                                               NEW ORLEANS, LA 70130

                               April 03, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50648       Ellis-Erkkila v. Citibank
                         USDC No. 6:20-CV-1039

The court has granted an extension of time to and including
May 17, 2024 for filing the brief of Appellee JP Morgan Chase                       in
this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Peter A. Conners, Deputy Clerk
                                   504-310-7685
Ms. Brittney Angelich
Mr. Daniel Avila II
Mr. Joshua Benjamin Baker
Mr. Gene R. Besen
Ms. Shelisa Brock
Mr. James Matthew Dow
Ms. Priscilla Ann Ellis-Erkkila
Mr. Brett David Kutnick
Ms. Mary Mangan
Mr. Kevin Ward Patton
